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                                    UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF ILLINOIS
                                          EASTERN DIVISION

CENTRAL STATES, SOUTHEAST AND                    )
SOUTHWEST AREAS PENSION FUND;                    )
and ARTHUR H. BUNTE, JR., as Trustee,            )
                                                 )
                             Plaintiffs,         )
                                                 )               Case No. 16-cv-8439
                v.                               )
                                                 )               Judge John Robert Blakey
PHBC, LLC, a Michigan limited liability company; )
ML LAND COMPANY, L.L.C., a Michigan              )               Magistrate Judge Sheila Finnegan
Limited liability company; L & L LAND            )
COMPANY, LLC f/k/a L & L LAND COMPANY )
LIMITED PARTNERSHIP, a Michigan limited          )
liability company; and MICHAEL LAUTH,            )
an individual                                    )
                                                 )
                             Defendants.         )

                         PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT

          NOW COME Plaintiffs, Central States, Southeast and Southwest Areas Pension Fund

(the “Fund”) and Arthur H. Bunte, Jr., trustee, by and through their counsel, and hereby submit

their Motion for Summary Judgment against all four Defendants: PHBC, LLC (“PHBC”), ML

Land Company, L.L.C. f/k/a M and G Land Company, L.L.C. (“ML Co.”), L & L Land

Company, LLC f/k/a L & L Land Company Limited Partnership (“L&L”), and Michael Lauth.

          In support of this Motion, Plaintiffs state that all three entity Defendants are liable for the

withdrawal liability incurred as a result of non-party Port Huron Building Supply Co.’s

(“PHBS”) 2012 partial withdrawal from the Fund because on the withdrawal date all three entity

Defendants were “trades or businesses . . . under common control” with PHBS within the

meaning of 29 U.S.C. § 1301(b). See also, e.g., Cent. States Se. & Sw. Areas Pension Fund v.

Messina Prods., LLC, 706 F.3d 874, 878 (7th Cir. 2013) (under section 1301(b) all trades or

business under common control with a withdrawing entity are liable for that entity’s withdrawal



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liability). Further, Defendant Michael Lauth is liable for the withdrawal liability because the pre-

withdrawal conversion of Defendant L&L from a partnership to an LLC is to be disregarded, as

it was done for a principal purpose of eliminating the personal liability Michael Lauth would

have had for the withdrawal liability as an L&L general partner. See 29 U.S.C. § 1392(c) (where

“a principal purpose of any transaction is to evade or avoid” withdrawal liability, then

withdrawal liability “shall be determined and collected” without “regard to such transaction.”).

As a result, L&L should still be treated as a partnership of which Michael Lauth is a general

partner, making him personally liable for the withdrawal liability. 1

          WHEREFORE, for the reasons set forth above and in Plaintiffs’ memorandum in

support of this Motion, Plaintiffs request that this Court enter summary judgment in the Fund’s

favor and against Defendants, jointly and severally, for the principal amount of the withdrawal

liability ($2,114,166.93), plus interest thereon, an amount equal to the greater of that interest or

liquidated damages, attorneys’ fees and costs, and post-judgment interest. See 29 U.S.C. §§

1132(g)(2), 1451(b). 2

                                                                 Respectfully submitted,

June 22, 2018                                                    /s/ Andrew J. Herink
                                                                 Andrew J. Herink (#06303510)
                                                                 Central States Law Department
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                                                                 ATTORNEY FOR PLAINTIFFS




1
 Plaintiffs are not moving for summary judgment on their claim that Michael Lauth was operating an
unincorporated trade or business on the date of withdrawal. (See Dkt. No. 60 (Plainitffs’ First Amended
Complaint), ¶¶ 17-18, 63-64.)
2
  Plaintiffs have not provided evidence of the Fund’s section 1132(g)(2) damages because the amount of
the interest due changes on a daily basis. Plaintiffs will establish these amounts by motion and affidavit
should the Court grant their summary judgment motion.

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                                    CERTIFICATE OF SERVICE

          I, Andrew J. Herink, one of the attorneys for the Central States, Southeast and Southwest

Areas Pension Fund, certify that on June 22, 2018, I caused the foregoing Motion for Summary

Judgment to be served on all parties via the Court’s electronic filing system.



June 22, 2018                                                /s/ Andrew J. Herink
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